           Case 2:19-cv-00347-JTR                   ECF No. 20        filed 12/31/20       PageID.2046 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                   for thH_                                     FILED IN THE
                                                                                                            U.S. DISTRICT COURT
                                                      Eastern District of Washington                  EASTERN DISTRICT OF WASHINGTON


                         KENNETH T.,                                                                   Dec 31, 2020
                                                                      )                                    SEAN F. MCAVOY, CLERK

                             Plaintiff                                )
                                v.                                    )       Civil Action No. 2:19-CV-00347-JTR
                                                                      )
                ANDREW SAUL,
       COMMISSIONER OF SOCIAL SECURITY,                               )

                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                             dollars ($              ), which includes prejudgment
interest at the rate of                    %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Defendant’s Motion for Summary Judgment, ECF No. 17, is GRANTED. Plaintiff’s Motion for Summary Judgment,
u
              ECF No. 13, is DENIED. Judgment is entered for Defendant.




This action was (check one):
u tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                           without a jury and the above decision
was reached.

✔
u decided by Judge                       John T. Rodgers                                        on motions for summary judgment.




Date: December 31, 2020                                                     CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Pam Howard
                                                                                            %\ Deputy Clerk

                                                                             Pam Howard
